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                               UNITED STATES BANKRUPTCY COURT
                                EASTERN DISTRICT OF LOUISIANA


   IN RE:                                          '
                                                   '    CASE NO. 14-11638
   WILLIAM A. DEMMONS and                          '
   KAREN S. FOWLER                                 '
                                                   '
                                                   '    Chapter 7
          Debtors.                                 '
                                                   '
   WILLIAM A. DEMMONS and                          '
   KAREN S. FOWLER                                 '
                                                   '
          Plaintiffs,                              '
                                                   '
   vs.                                             '
                                                   '    Adversary No. 15-01024
   R3 EDUCATION INC., d/b/a                        '
   SABA UNIVERSITY SCHOOL OF                       '
   MEDICINE; AMERICAN                              '
   EDUCATIONAL SERVICES;                           '
   NAVIENT SOLUTIONS, INC., AND                    '
   NELNET, INC.                                    '
                                                   '
          Defendants.                              '


                                   CERTIFICATE OF SERVICE

          I certify that on the 20th day of August 2015, the (i) Motion and Incorporated

   Memorandum in Support of Motion to Dismiss First Amended Complaint (ii) Notice of Hearing

   for same have been caused to be served on the following in this matter via the ECF system and

   by mailing a copy thereof by first class U.S. mail, postage prepaid, addressed as follows:

          American Educational Services
          Eddie Upshaw, Registered Agent
          Rt 2, Box. 15
          Spearsville, LA 71277




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          Maine Educational Services
          National Education Association
          Jonathan S R Beal, Registered Agent
          PO Box 1400
          Portland, ME 04104

          Navient Solutions, Inc.
          Corporate Service Company, Registered Ag
          320 Somerulos St.
          Baton Rouge, LA 70802-6129

          Robin R. DeLeo
          800 Ramon Street
          Mandeville, LA 70448

          Jane Jackson
          Kelly Hart & Pitre
          400 Poydras Street
          Suite 1812
          New Orleans, LA 70130

          FCDB NPSL LLC
          The Corporation Trust Company
          Corporation Trust Center
          1209 Orange Street
          Wilmington, DE 19801

          FCDB NPSL LLC
          c/o Goal Structured Solutions
          401 West A Street, Su 1300
          San Diego, CA 92101

          Deutche Bank
          Through Legal Department
          60 Wall Street 36th Floor
          New York, NY 10005


          Key Bank N.A.
          Through CEO Beth Mooney
          127 Public SQ
          Cleveland, OH 44114




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          Key Bank USA, N.A.
          Through Keybank Risk Operations
          4901 Tiedman Road
          OH-01-51-4002
          Brooklyn, OH 44144




   Dated: August 20, 2015                   Respectfully Submitted,

                                            By: /s/ Bradley C. Knapp
                                            C. Davin Boldissar (La. #29094)
                                            Bradley C. Knapp (La. # 35867)
                                            Locke Lord LLP
                                            601 Poydras Street, Suite 2660
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                                            ATTORNEYS FOR R3 EDUCATION INC.,
                                            d/b/a SABA UNIVERSITY SCHOOL OF
                                            MEDICINE




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